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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

                                               DECISION AND ORDER
DANIEL DIAZ,
                                               Civil Case No.
                 Movant,                       1:16-cv-00392-MAT
                                               Criminal Case No.
      -vs-                                     1:06-cr-00023-MAT
UNITED STATES OF AMERICA,
                                               and
                 Respondent.
                                               Civil Case No.
                                               1:16-cv-00391-MAT
                                               1:01-cr-00129-MAT



                               INTRODUCTION

     Daniel Diaz (“Diaz” or “Movant”), proceeding pro se, has filed

a Motion to Vacate under 28 U.S.C. § 2255 (Dkt #11 in 1:06-cr-

00023; Dkt #872 in 1:01-cr-00129), seeking an order vacating and

correcting his sentence based on Johnson v. United States, 135 S.

Ct. 2551 (2015) (“Johnson”).

                                BACKGROUND

     On January 17, 2006, in USA v. Diaz, et al., 1:01-cr-00129

(W.D.N.Y. Aug. 21, 2001), Movant appeared before Hon. Richard J.

Arcara, U.S. District Judge, and pled guilty to Count 2 of the

Second Superseding Indictment (Dkt #256 in 1:01-cr-00129), which

charged engaging in a continuing criminal enterprise in violation

of 21 U.S.C. § 848(a). Also on that date, Movant waived indictment

in USA v. Diaz, et al., 1:06-cr-00023 (W.D.N.Y. Jan. 17, 2006), and

pled guilty before Judge Arcara to a one-count information (Dkt #1
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in 1:06-cr-00023), which charged unlawful possession of a firearm

in furtherance of a drug

trafficking crime in violation of 18 U.S.C. § 924(c)(1). The

written plea agreements were identical in both cases. Movant’s

sentencing range under the U.S. Sentencing Guidelines (“USSG” or

“Guidelines”) in 1:01-cr-00129 was 360 months to life, plus a

mandatory   60-month    consecutive     sentence     for       Count   1      of

1:06-cr-00023.    On September 25, 2006, Judge Arcara sentenced

Movant to consecutive terms of imprisonment of 360 months on Count

2 of 1:01-cr-00129, and 60 months on Count 1 of 1:06-cr-00023.



     These are Movant’s first Section 2255 motions, which are

identical in both cases. Respondent filed a memorandum of law in

opposition. Movant did not file a reply. For the reasons discussed

below, relief under Section 2255 is not warranted, and Diaz’s

motions are denied.

                               DISCUSSION

     In Johnson, 135 S. Ct. 2551, the Supreme Court held that

imposing an increased sentence under the residual clause of the

Armed Career Criminal Act of 1984 (“ACCA”), 18 U.S.C. § 924c(2)(B),

is constitutionally void for vagueness under the Due Process

Clause. Though Johnson dealt only with the ACCA’s residual clause,

the Second Circuit has recognized that the operative language of

USSG § 4B1.2(a)(2)’s residual clause and the ACCA’s residual clause


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is identical.1 See, e.g., United States v. Gray, 535 F.3d 128, 130

(2d Cir. 2008) (“[W]here the language of two . . . provisions is

identical, we cannot conclude that those provisions have disparate

applicability to a type of conduct that inherently involves the

risk specified in both provisions.”) (quotation omitted). Effective

August 1, 2016, Sentencing Commission amended Section 4B1.2(a)(2)

to strike the residual clause, finding that it implicated many of

the same concerns cited by the Supreme Court in Johnson.

       Movant asserts that the alleged “enhancement of [his] sentence

of 60 months exceeded the maximum allowed by law.” He further

contends that      he   was sentenced       according   to   the     USSG   Career

Offender provision for an alleged crime of violence (possession of

a firearm illegal in violation of 18 U.S.C. § 924(c)(1)). Movant

argues     that   the   USSG   definition     of   “crime    of     violence”      in

§ 4B1.2(b) is unconstitutional for the same reasons that the term

“violent felony” in the ACCA is unconstitutional. Therefore, Movant

reasons, his sentence of 60 months for possession of a firearm is

illegal.

       While creative, Movant’s argument misses the mark. There was

no    sentencing    “enhancement”     under    the   USSG    Career      Offender

Guideline, § 4B1.1 in this case. The Court has reviewed the


       1

      Compare U.S.S.G. § 4B1.2(a)(2) (defining “crime of violence” to include
“conduct that presents a serious potential risk of physical injury to another”)
with 18 U.S.C. § 924(e)(2)(B) (defining “violent felony” to include “conduct that
presents a serious potential risk of physical injury to another”).

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transcripts        of   the       sentencing    proceedings,      and      there    is     no

reference     to USSG         §    4B1.2(b)’s    residual     clause       or    “crime    of

violence” in them. To the contrary, it is clear that Diaz was not

sentenced as a Career Offender under the Guidelines. Indeed, at one

point, AUSA Duszkiewicz informed Judge Arcara that “[the Probation

Officer] in the presentence report indicates that career offender

is    not   applicable        because    of     the   guideline     ranges       that     are

established.        .   .     .”      Sentencing       Transcript       (Dkt      #873     in

1:01-cr-00129; Dkt #12 in 1:06-cr-00023) at 31 (emphasis supplied).

What Movant terms a sentencing “enhancement” for a “crime of

violence” under the Guidelines is actually his mandatory 60-month

sentence     for    his     conviction     by    guilty    plea    on      one   count     of

violating 18 U.S.C. § 924(c)(1)2 in 1:06-cr-00023.




       2

      Title 18 U.S.C., § 924(c)(1)(A) provides in part that “[e]xcept to the
extent that a greater minimum sentence is otherwise provided by this subsection
or by any other provision of law, any person who, during and in relation to any
crime of violence or drug trafficking crime (including a crime of violence or
drug trafficking crime that provides for an enhanced punishment if committed by
the use of a deadly or dangerous weapon or device) for which the person may be
prosecuted in a court of the United States, uses or carries a firearm, or who,
in furtherance of any such crime, possesses a firearm, shall, in addition to the
punishment provided for such crime of violence or drug trafficking crime—(i) be
sentenced to a term of imprisonment of not less than 5 years. . . .” 18 U.S.C.
§ 924(c)(1)(A)(i). “Where applicable, the prescribed five-, seven-, or ten-year
minimum sentences (for possession, brandishing, or discharge, respectively) must
run consecutively to any other term of imprisonment, including the term imposed
for the predicate crime of violence or drug trafficking. United States v. Tejada,
631 F.3d 614, 617 (2d Cir. 2011) (citing id., § 924(c)(1)(D)(ii); emphasis
supplied).




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     Movant also argues that “the language used in establishing the

sentences    according   to    title    18    §   924   (c)(1)   uses      as   cross

reference to title 8 USCS § 1101, which in Dimaya v. Lynch, 803 F3d

1110 (9th Cir. 2015) was decided it has similar language as of the

ACCA residual clause, which renders it (title 18 § 924(C)(1) that

is) also unconstitutional. . . .” In Dimaya, the Ninth Circuit held

that the Immigration and Nationality Act’s (“INA”) definition of

“aggravated    felony”   was    unconstitutionally         vague      in   light     of

Johnson. Id. at 1120. Dimaya has no relevance whatsoever to Diaz’s

case. Moreover,     18   U.S.C.    §    924(c)(1) has      not       been rendered

unconstitutional by Johnson; indeed, it is wholly unaffected by

that case.

     Finally, Diaz asserts that “the mandatory sentences imposed

for a mere possession of a firearm constitutes unusual and cruel

punishment” in violation of the Eighth Amendment, “taking into

account that in the instant case

[he] was not even in actual possession of any firearm, another

allegedly co-conspirator was.” The Second Circuit has observed,

“even   mandatory   sentences      of    life     imprisonment        without      the

possibility of parole do not violate the Eighth Amendment simply

because they are mandatory.” United States v. Jackson, 59 F.3d

1421, 1424 (2d Cir.      1995) (citing Harmelin v. Michigan, 501 U.S.

957, 994-96 (1991) (imposition of mandatory sentence of life in

prison without possibility of parole, on conviction of possessing


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more than 650 grams of cocaine, without any consideration of

mitigating factors such as fact that defendant had no prior felony

convictions, did not constitute cruel and unusual punishment;

severe, mandatory penalties may be cruel, but they are not unusual

in the constitutional sense)).

     In sum, the Court agrees with Respondent that Diaz does not

have a viable claim that any part of his sentence violates Johnson.

None of the other arguments raised by Diaz have merit. He has not

established that his sentence was imposed in violation of the

Constitution or laws of the United States, or was in excess of the

maximum authorized by law. See 28 U.S.C. § 2255(a). Accordingly,

relief under Section 2255 is unwarranted.

                               CONCLUSION

     For the reasons discussed above, the Section 2255 Motions

filed by Daniel Diaz are denied.

     IT IS SO ORDERED.

                                        S/Michael A. Telesca

                                   HONORABLE MICHAEL A. TELESCA
                                   United States District Judge

DATED:    November 18, 2016
          Rochester, New York




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